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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES

                                                NO. 2:20-cr-00045-GAM

                v.                              JUDGE MCHUGH

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                        Defendants



       AND NOW, this                   day of                      , 2021, in consideration of

the Joint Motion of Defendants Dawn Chavous and Kenyatta Johnson to Require the Government

to Provide Notice of Its Intention to Introduce Evidence Against Them Pursuant to F.R.E. 404(b),

it is hereby ORDERED that Defendants’ Motion is GRANTED. The United States of America

is hereby ORDERED to provide notice of its intention to offer evidence against Defendants

pursuant to F.R.E. 404(b).



                                            BY THE COURT:




                                            THE HONORABLE GERALD A. McHUGH
                                            United States District Judge




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                v.                              JUDGE MCHUGH

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                        Defendants


JOINT MOTION OF DEFENDANTS DAWN CHAVOUS AND KENYATTA JOHNSON
TO REQUIRE THE GOVERNMENT TO PROVIDE NOTICE OF ITS INTENTION TO
    INTRODUCE EVIDENCE AGAINST THEM PURSUANT TO F.R.E. 404(b)

       Defendants Dawn Chavous and Kenyatta Johnson (collectively “Defendants”), by and

through their undersigned counsel, respectfully request that the Court order the Government to

provide notice of its intention to introduce any evidence against Defendants pursuant to Federal

Rule of Evidence 404(b), and aver as follows:

       1.      Ms. Chavous and Councilmember Johnson are defendants in the above-captioned

matter, wherein they have been charged with two Counts of Honest Services Wire Fraud pursuant

to 18 U.S.C. §§ 1343, 1346.

       2.      This matter is scheduled for trial starting on February 1, 2022 before the Hon.

Gerald A. McHugh.

       3.      Federal Rule of Evidence 404(b) permits admission of “[e]vidence of any other

crime, wrong, or act” for certain very limited purposes provided, inter alia, that upon request by

the accused, the Government in a criminal case shall, in advance of trial, provide reasonable notice

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of any such evidence it intends to offer.

       4.      Defendants believe, and therefore aver, that the Government may seek to introduce

evidence pursuant to Rule 404(b) against them in this matter.

       WHEREFORE, Defendants respectfully request that the Court issue an Order requiring

the Government to provide reasonable notice in advance of trial of its intent to introduce evidence

against Defendants pursuant to Rule 404(b), as well as the specific bases and theories for the

introduction of such evidence.


Dated: November 5, 2021                       Respectfully submitted,

                                              /s/ Barry Gross
                                              Barry Gross
                                              Elizabeth M. Casey
                                              FAEGRE DRINKER BIDDLE & REATH LLP
                                              One Logan Square, Suite 2000
                                              Philadelphia, PA 19106
                                              215-988-2700

                                              Attorneys for Defendant Dawn Chavous


                                              /s/ Patrick J. Egan
                                              Patrick J. Egan
                                              Nathan Huddell
                                              FOX ROTHSCHILD LLP
                                              2000 Market Street, 20th Floor
                                              Philadelphia, PA 19103
                                              Phone: (215) 299-2000

                                              Attorneys for Defendant Kenyatta Johnson
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                         IN THE UNITED STATES DISTRICT COURT
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                                                  NO. 2:20-cr-00045-GAM

                 v.                               JUDGE MCHUGH

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                         Defendants



                                  CERTIFICATE OF SERVICE

        I, Barry Gross, hereby certify that on this day, the foregoing document was filed

electronically with the Electronic Case Filing System (“CM/ECF”) for the Federal Judiciary.

Notice of this filing will be sent to all parties by operation of the Notice of Electronic Filing system,

and the parties to this action may access this filing through CM/ECF.


Dated: November 5, 2021                                 /s/ Barry Gross
                                                        Barry Gross
